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7                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
8
9    Scott Johnson                               )   Case No.: 5:20-cv-08048-LHK
                                                 )
10            Plaintiff,                         )   NOTICE OF SETTLEMENT AND
                                                 )   REQUEST TO VACATE ALL
11     v.                                        )   CURRENTLY SET DATES
     Ross Family LLC, a California Limited       )
12   Liability Company;                          )
     Jerald G. Ross                              )
13                                               )
              Defendants.                        )
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15
             The plaintiff hereby notifies the court that a provisional settlement has been
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     reached in the above-captioned case. The Parties would like to avoid any additional
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     expense while they focus efforts on finalizing the terms of the settlement and reducing it
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     to a writing. The plaintiff, therefore, applies to this Honorable Court to vacate all
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     currently set dates with the expectation that the settlement will be consummated within
20
     the coming sixty (60) days, allowing for a Joint Stipulation for Dismissal with prejudice
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     as to all parties to be filed.
22
23                                          CENTER FOR DISABILITY ACCESS
24
     Dated: April 27, 2021                  By: /s/ Amanda Seabock
25
                                                  Amanda Seabock
26                                                Attorney for Plaintiff
27
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     Notice of Settlement             -1-                      5:20-cv-08048-LHK
